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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS                        Case No. 3:19md2885
EARPLUG PRODUCTS
LIABILITY LITIGATION

This Document Relates to                     Judge M. Casey Rodgers
All Cases                                    Magistrate Judge Hope T. Cannon


                      CASE MANAGEMENT ORDER NO. 76
                          (Loss of Consortium Claims)

      This Order addresses the procedures for resolving loss of consortium claims

(“LOC”) in connection with the settlement program. While LOC is a derivative

claim, it nonetheless is distinct from the injury claim of the Eligible Claimant.

Consequently, an Eligible Claimant may not execute a Registration Form/Release

releasing his or her spouse’s LOC claim. The following procedures govern the

resolution of spousal LOC claims.

      A.    Living Spouse. LOC claims involving a living spouse (including

estranged spouses or divorces), must be resolved by either: (1) the filing of a

voluntary dismissal with prejudice of the LOC claim by counsel; or (2) the Eligible

Claimant’s living spouse personally executing the Release. ARCHER’s Spouse

Signature Guide, which is attached as Exhibit A, details the steps for providing the

spouse’s signature.
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      B.     Deceased Spouse. LOC claims involving a now-deceased spouse must

be resolved either by: (1) counsel filing a voluntary dismissal with prejudice of the

LOC claim; or (2) counsel filing a motion to substitute a duly appointed personal

representative of the deceased spouse as the proper party under Federal Rule of Civil

Procedure 25, the Court ordering substitution of that party, and that party thereafter

executing a Release.

      SO ORDERED, on this 20th day of November, 2023.


                                 M. Casey Rodgers
                                 M. CASEY RODGERS
                                 UNITED STATES DISTRICT JUDGE
